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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA


                                                   MDL No. 2-18-mn-2873-RMG
IN RE: AQUEOUS FILM-FORMING
FOAMS PRODUCTS LIABILITY                           This Document Relates to:
LITIGATION                                         City of Camden, et al. v. 3M Company,
                                                   Case No. 2:23-cv-03147-RMG

    [PROPOSED] ORDER GRANTING SOVEREIGNS’ MOTION TO INTERVENE

       Upon consideration of the Sovereigns’ Motion to Intervene and Memorandum of Law in

Support of the Sovereigns’ Motion to Intervene, is hereby ORDERED that the Sovereigns’ Motion

to Intervene is GRANTED pursuant to Federal Rule of Civil Procedure Rule 24(a), or in the

alternative, pursuant to Federal Rule of Civil Procedure Rule 24(b). It is further ORDERED that

the Sovereigns are permitted to intervene in this matter, City of Camden, et al. v. 3M Company,

No. 2:23-cv-03147-RMG.



Dated: ____ , 2023                                 ______________________________
                                                   Hon. Richard Mark Gergel
                                                   United States District Judge
                                                   Charleston, South Carolina
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2023, I electronically filed the foregoing document with

the Clerk of the Court using the Court’s CM/ECF system, which shall send notice to all counsel

of record.


Dated: July 26, 2023                                /s/ Nicholas G. Campins
                                                    NICHOLAS G. CAMPINS
